          Case 22-60043 Document 804 Filed in TXSB on 02/07/24 Page 1 of 8




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

    In re:                                            §
                                                      §       CASE NO. 22-60043
    FREE SPEECH SYSTEMS, LLC,                         §
                                                      §       CHAPTER 11
              DEBTOR.                                 §

       UNITED STATES TRUSTEE’S LIMITED OBJECTION TO THE SUBCHAPTER V
     TRUSTEE’S APPLICATION TO RETAIN THE LAW OFFICE OF LIZ FREEMAN, PLLC

TO THE HONORABLE CHRISTOPHER M. LOPEZ
UNITED STATES BANKRUPTCY JUDGE:

         Kevin M. Epstein, the United States Trustee for the Southern District of Texas (the “U.S.

Trustee”), objects on a limited basis (the “Objection”) to the Subchapter V Trustee’s Application

to Retain the Law Office of Liz Freeman, PLLC (the “Freeman Application”) [ECF No. 789]

because of the improper request for retroactive approval.

                                    I.     INTRODUCTION 1

         1.      The Court should deny the request of the Law Office of Liz Freeman, PLLC (the

“Applicant”) for retroactive approval of the Freeman Application to December 5, 2022, 13 months

before it filed the Freeman Application. The Applicant asserts that the failure to file the Freeman

Application for over a year resulted from an “oversight.” 2 Retroactive employment, however,

should be granted only in limited situations where an applicant can demonstrate that its application

would have been approved if the application were timely filed and where the failure to file a timely



1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them below.
2
 “Ms. Freeman has over [twenty] years of experience in complex bankruptcy and reorganization
matters and representation of trustees[,]” six of those years include clerking for a bankruptcy judge,
and “Ms. Freeman is Board Certified in Business Bankruptcy Law by the Texas Board of Legal
Specialization.” Freeman Application ¶ 15.
                                                  1
        Case 22-60043 Document 804 Filed in TXSB on 02/07/24 Page 2 of 8




application for employment was due to extraordinary circumstances. See Fanelli v. Hensley (In re

Triangle Chems., Inc.), 697 F.2d 1280, 1289 (5th Cir. 1983). Because the Applicant cannot meet

this burden, the Court should deny the Subchapter V Trustee’s request for the Applicant’s

retroactive employment and instead approve the Applicant’s employment from January 19, 2024,

the date Applicant submitted the Freeman Application.

                             II.     FACTUAL BACKGROUND

A.     General Information.

       2.      On July 29, 2022, Free Speech Systems, LLC (“FSS”) filed a voluntary petition

under subchapter V of chapter 11.

       3.      On August 2, 2022, the U.S. Trustee appointed Melissa Haselden (“Subchapter V

Trustee”) to serve as FSS’s Subchapter V Trustee.

       4.      On September 20, 2022, the Court entered the Order Expanding the Subchapter V

Trustee’s Duties Pursuant to 11 U.S.C. § 1183(b)(2) of the Bankruptcy Code. ECF No. 183.

B.     Retention of Jackson Walker as General Bankruptcy Counsel.

       5.      On October 11, 2022, the Subchapter V Trustee filed an application to employ

Jackson Walker LLP (the “Jackson Walker Application”) as the Subchapter V Trustee’s general

bankruptcy counsel. ECF No. 230. In the Jackson Walker Application, the Subchapter V Trustee

stated that Jackson Walker LLP (“Jackson Walker”) partner Elizabeth Freeman would be

designated as the attorney-in-charge for Jackson Walker. Id. at ¶ 9.

       6.      The Court entered an order approving the retention of Jackson Walker on

November 7, 2022. ECF No. 265.




                                                2
        Case 22-60043 Document 804 Filed in TXSB on 02/07/24 Page 3 of 8




C.      Applicant Fails to Timely File Its Own Retention Application.

        7.      According to the Freeman Application, in December 2022, Ms. Freeman left

Jackson Walker and formed her own firm, the Law Office of Liz Freeman, PLLC. Id. at ¶ 3. The

Subchapter V Trustee states that she entered into an engagement with the Applicant in January

2023 and that an application to employ was prepared and approved, but the application “was not

immediately filed due to an oversight.” Id. at ¶ 6.

        8.      Over a year later, on January 19, 2024, the Subchapter V Trustee filed the Freeman

Application seeking to employ the Applicant as the Subchapter V Trustee’s co-general bankruptcy

counsel pursuant to 11 U.S.C. §§ 327(a), 328, and 704. ECF No. 789. The Subchapter V Trustee

requests that the Court retroactively approve the Applicant’s employment effective as of December

5, 2022. Id. at ¶ 5.

        9.      In support of the Freeman Application, the Subchapter V Trustee also attached as

Exhibit A the engagement letter dated December 5, 2022, summarizing the terms of the agreement

between Freeman and the Subchapter V Trustee (“Freeman Engagement Letter”). ECF No. 789-

2. Although the Subchapter V Trustee alleges that the engagement started in January 2023, the

Applicant neither signed nor dated the Freeman Engagement Letter, nor did the Subchapter V

Trustee date her signature to evidence when the engagement began. Id. at p. 3.




                                                 3
        Case 22-60043 Document 804 Filed in TXSB on 02/07/24 Page 4 of 8




                                III.    LIMITED OBJECTION

A.     Because No Extraordinary Circumstances Exist That Warrant Applicant’s
       Retroactive Employment, the Court Should Deny the Request.

       10.      The Court should not approve the Freeman Application retroactively as of

December 5, 2022, 3 because the Applicant’s mere oversight does not meet the extraordinary

circumstances standard required by the Fifth Circuit.

       11.      The Bankruptcy Code provides a uniform scheme for retaining and compensating

court-authorized attorneys under 11 U.S.C. §§ 327–31, 503, and 507. Section 327 provides that

the trustee may employ, with the Court’s approval, professionals who are disinterested and who

do not hold or represent interests adverse to the estate. 11 U.S.C. § 327. In addition, applicants

must comply with Bankruptcy Rule 2014(a), see In re Bechuck, 472 B.R. 371, 375 (Bankr. S.D.

Tex. 2012), as well as Local Rule 2014-1(b), which governs nunc pro tunc employment

applications.

       12.      Although the Supreme Court has not squarely addressed the issue of retroactive

employment in bankruptcy cases, it has disapproved of courts using nunc pro tunc relief to do

anything other than “reflect the reality of what has already occurred,” such as an order granted but

not entered because of the court’s inadvertence. See Roman Cath. Archdiocese of San Juan, P. R.

v. Acevedo Feliciano, 140 S. Ct. 696, 701 (2020) (per curiam) (citation omitted) (vacating orders

entered by the Puerto Rican trial court five months before the U.S. District Court actually granted

an order of remand nunc pro tunc). “[T]he court cannot make the record what it is not.” Id. (citation




3
 Retroactive relief in this sense applies to the request for approval of the relief as of December 5,
2022, as distinguished from approval as of the date the Freeman Application was filed, January
19, 2024.
                                                 4
        Case 22-60043 Document 804 Filed in TXSB on 02/07/24 Page 5 of 8




omitted). To do otherwise would make nunc pro tunc orders an “Orwellian vehicle for revisionist

history—creating ‘facts’ that never occurred in fact.” Id. (citation omitted).

       13.     Retroactive employment in the bankruptcy context should only be granted in

limited situations where an applicant can demonstrate its application would have been approved if

timely filed and the failure to file a timely application for employment was due to extraordinary

circumstances. See In re Triangle Chems., Inc., 697 F.2d at 1289; see also F/S Airlease II, Inc. v.

Simon (In re F/S Airlease II, Inc.), 844 F.2d 99, 109 (3d Cir. 1988); Farinash v. Vergos (In re

Aultman Enters., 264 B.R. 485, 489 (E.D. Tenn. 2001) (collecting cases that adopt the

“extraordinary circumstances” test); accord In re Albrecht, 233 F.3d 1258, 1260 (10th Cir. 2000);

Cushman & Wakefield of Conn., Inc. v. Keren Ltd. P’ship (In re Keren Ltd. P’ship), 189 F.3d 86,

88 (2d Cir. 1999); Atkins v. Wain, Samuel & Co. (In re Atkins), 69 F.3d 970, 974 (9th Cir. 1995).

       14.     The extraordinary circumstances test requires an applicant to demonstrate

compelling reasons that justify retroactive approval of its employment application. See Aultman

Enters., 264 B.R. at 493. Further, the extraordinary circumstances standard also generally requires

that applicants offer clear and convincing evidence justifying approval of their retroactive

employment. See In re Twinton Props. P’ship, 27 B.R. 817 (Bankr. M.D. Tenn. 1983) (requiring

clear and convincing evidence). Simple negligence or mere oversight can never be a satisfactory

explanation for failure to comply with section 327(a). See Lazzo v. Rose Hill Bank (In re

Schupbach Invs., L.L.C.), 808 F.3d 1215, 1220–21 (10th Cir. 2015); Aultman Enters., 264 B.R. at

493; see also In re Bolton-Emerson, Inc., 200 B.R. 725, 731 (Bankr. D. Mass. 1996).

       15.     Limiting nunc pro tunc orders to cases involving extraordinary circumstances

deters attorneys from failing to observe section 327’s requirements. In re Kroeger Props. & Dev.,

Inc., 57 B.R. 821, 822 (9th Cir. BAP 1986). It also promotes compliance with the Bankruptcy

                                                 5
        Case 22-60043 Document 804 Filed in TXSB on 02/07/24 Page 6 of 8




Code by ensuring, at the outset of a case, that counsel is disinterested and by assisting the court in

controlling administrative expenses. Aultman Enters., 264 B.R. at 490. Simply put, retroactive

approval should be limited to cases where the alleged hardship is not of counsel’s own making.

Land v. First Nat’l Bank of Alamosa (In re Land), 943 F.2d 1265, 1268 (10th Cir. 1991) (“[s]imple

neglect will not justify nunc pro tunc approval”); In re Arkansas Co., 798 F.2d 645, 650 (3d Cir.

1986) (extraordinary circumstances does not include the mere neglect of the professional who was

in a position to file a timely application); Biotech Mktg., Inc. v. Primary Health Sys. (In re Primary

Health Sys.), No. 99-0615, 2002 WL 500567, at *1–2 (D. Del. Mar. 28, 2002) (inadvertence or

neglect cannot constitute an extraordinary circumstance); Aultman Enters., 264 B.R. at 494

(“simple oversight, without more, can never be a satisfactory explanation for failure to comply

with section 327”); U.S. Tr. v. Gross, Shuman, Brizdle & Gilfillan, P.C. (In re Platinum Mgmt.

Corp.), 226 B.R. 762, 765 (W.D.N.Y. 1998) (attorney oversight or simple neglect is not a

reasonable excuse).

       16.     Both the Subchapter V Trustee and the Applicant shared responsibility for timely

seeking this Court’s approval of the Applicant’s employment but delayed filing the Freeman

Application for over 13 months. That extraordinary delay warrants denying the Freeman

Application. Arkansas Co., 798 F.2d at 645 (a 13-month delay in filing employment application

was excessive and weighed against approval of retroactive employment application); Frank v. Pica

Sys., Inc. (In re Pica Systems, Inc.), 124 B.R. 30, 33–34 (E.D. Mich. 1991) (a 14-month delay in

filing employment application was excessive and weighed against approval of retroactive

employment); In re TM Carlton House Partners, LTD., 93 B.R. 875, 877 (Bankr. E.D. Pa. 1988)

(a five-month delay in seeking to alter or amend bankruptcy employment order prevented court

from granting retroactive approval).

                                                  6
        Case 22-60043 Document 804 Filed in TXSB on 02/07/24 Page 7 of 8




       17.     Moreover, the Subchapter V Trustee and the Applicant have not presented evidence

of any compelling reasons justifying their extraordinary delay in filing the Freeman Application.

To the contrary, the only explanation the Subchapter V Trustee and the Applicant give for failing

to timely file the Freeman Application is oversight, an excuse that does not satisfy the Fifth

Circuit’s extraordinary circumstances standard.

       18.     The Court should therefore deny the Applicant’s request for retroactive

employment as of December 5, 2022, and instead approve the Applicant’s employment from

January 19, 2024, the date Applicant actually submitted the Freeman Application.

                                      IV.        CONCLUSION

       WHEREFORE, the U.S. Trustee respectfully requests that the Court deny the approval of

the Freeman Application as of December 5, 2022, and instead approve the Applicant’s

employment from January 19, 2024, the date Applicant submitted the Freeman Application, and

grant such other relief as is just and proper.


Date: February 7, 2024                             Respectfully Submitted,

                                                   KEVIN M. EPSTEIN
                                                   UNITED STATES TRUSTEE
                                                   REGION 7, SOUTHERN AND WESTERN
                                                   DISTRICTS OF TEXAS

                                                   By: /s/ Ha M. Nguyen
                                                      Ha Nguyen, Trial Attorney
                                                      CA Bar No. 305411/Fed. ID No. 3623593
                                                      United States Department of Justice
                                                      Office of the United States Trustee
                                                      515 Rusk, Suite 3516
                                                      Houston, Texas 77002
                                                      (202) 590-7962– Mobile
                                                      (713) 718-4670 – Fax
                                                      Email: Ha.Nguyen@usdoj.gov


                                                   7
       Case 22-60043 Document 804 Filed in TXSB on 02/07/24 Page 8 of 8




                               CERTIFICATE OF SERVICE

      I certify that on February 7, 2024 a copy of the foregoing was served by electronic means
via ECF transmission to all Pacer System participants in these bankruptcy cases.

                                                   /s/ Ha M. Nguyen
                                                   Ha Nguyen




                                              8
